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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO. 0:20-cv-61849-RS

 MITCHELL WELLER,
 individually and on behalf of all others
 similarly situated,
                                                                            CLASS ACTION
            Plaintiff,
 vs.
                                                                JURY TRIAL DEMANDED
 ENVISION PHYSICIAN SERVICES, LLC,

       Defendant.
 ______________________________________/

                               PLAINTIFF’S MOTION TO REMAND

            Plaintiff Mitchell Weller, pursuant to 28 U.S.C. §1447(c), moves to remand this case to

 state court, and in support states:

       I.       INTRODUCTION

            Plaintiff filed this putative class action under the Telephone Consumer Protection Act

 (“TCPA”) in the Circuit Court of the Seventeenth Judicial Circuit in and for Broward County,

 Florida. On September 11, 2020, Defendant removed this case. [DE 1]. Defendant knows or

 should know that pursuant to Salcedo v. Hanna, 96 F.3d 1162 (11th Cir. 2019), this Court lacks

 jurisdiction over Plaintiff’s claim involving the receipt of text messages without allegations of

 harm beyond a statutory violation. Undeterred, Defendant removed the case and represented to

 this Court that it may properly maintain jurisdiction over the case.

            In Salcedo, the Eleventh Circuit held that the recipient of text messages, without specific

 allegations of harm, lacks Article III standing to maintain his claim in federal court. See id. at

 1166–73. Pursuant to Salcedo, this Court should remand this case because the operative pleading




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 does not contain sufficient allegations to meet the strictures of Article III, which, notably, Plaintiff

 is not required to satisfy at the state court level.

           Recently, Judge Cecilia Altonaga granted a motion to remand in a TCPA action where the

 plaintiff alleged only a statutory violation. See Jenkins v. Simply Healthcare Plans, Inc., No. 20-

 22677-CIV, 2020 U.S. Dist. LEXIS 147433 (S.D. Fla. Aug. 17, 2020) (“With no concrete injury,

 and thus no standing, Simply Healthcare has not met its burden to show that the Court has subject

 matter jurisdiction over this action. Remand is the proper course.”) (Altonaga, J.). Similarly, Judge

 Roy Altman remanded a TCPA action involving a text message after holding that allegations

 identical to those here failed to satisfy Article III standing. See Mittenthal v. Fla. Panthers Hockey

 Club, Ltd., No. 20-60734-CIV-ALTMAN/Hunt, 2020 U.S. Dist. LEXIS 123127 (S.D. Fla. July

 10, 2020) (“In any event, the Plaintiffs are right that Salcedo controls the decision here….Here,

 the Complaint never references any tangible harm the Plaintiffs may have suffered…..The

 Plaintiffs likewise allege no intangible harm.”) (Altman, J.) (emphasis in original). Notably, in

 his order remanding the case, Judge Altman stated: “It is worth noting, too, that nothing in this

 Order—or in Salcedo—prevents the state court from exercising jurisdiction over this case.” Id. at

 n. 4 (emphasis original).

           Plaintiff’s operative pleading does not satisfy the requirements of Article III as interpreted

 by the Eleventh Circuit in Salcedo. This Court should remand the case to Plaintiff’s chosen forum

 where the case may be properly maintained.

     II.      FEDERAL JURISDICTION REQUIREMENTS

           The party attempting to invoke a federal court’s jurisdiction bears the burden of

 establishing that jurisdiction. See McNutt v. Gen. Motors Acceptance Corp. of Ind., Inc., 298 U.S.

 178, 189 (1936). “Defendant’s right to remove and plaintiff’s right to choose his forum are not on



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 equal footing; for example, unlike the rules applied when plaintiff has filed suit in federal court

 with a claim that, on its face, satisfies the jurisdictional amount, removal statutes are construed

 narrowly; where plaintiff and defendant clash about jurisdiction, uncertainties are resolved in favor

 of remand.” Burns v. Windsor Ins. Co., 31 F.3d 1092, 1095 (11th Cir. 1994).

        Defendant’s contention that this Court has original subject matter jurisdiction pursuant to

 28 U.S.C. § 1331, 1441(a), and 1446(a), is not the end of the jurisdictional inquiry, Plaintiff must

 also have standing to bring his claim. See Lujan v. Def.’s of Wildlife, 504 U.S. 555, 560 (1992).

 Under Article III of the Constitution, the subject-matter jurisdiction of the federal courts is limited

 to “Cases” and “Controversies.” U.S. Const. art. III, § 2, and “the core component of standing is

 an essential and unchanging part of the case-or-controversy requirement of Article III.” Lujan,

 504 U.S. at 560. To establish standing, the plaintiff “must have (1) suffered an injury in fact, (2)

 that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be

 redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016).

        Proving an “injury in fact” is, as the Supreme Court has said, “[f]irst and foremost” among

 these three elements. Steel Co., 523 U.S. at 103. “It is settled that Congress cannot erase Article

 III’s standing requirements by statutorily granting the right to sue to a plaintiff who would not

 otherwise have standing.” Raines v. Byrd, 521 U.S. 811, 820 (1997). Indeed, in “no event” may

 “Congress abrogate the Art. III minima.” Gladstone Realtors v. Vill. of Bellwood, 441 U.S. 91,

 100 (1979).

        To establish an injury in fact, a plaintiff must show, not only “an invasion of a legally

 protected interest,” but also a “concrete and particularized” injury that is “actual or imminent, not

 conjectural or hypothetical.” Lujan, 504 U.S. at 560. “A ‘concrete’ injury must be ‘de facto’; that

 is, it must actually exist.” Spokeo, 136 S. Ct. at 1548. The injury, in short, must be “real” and not



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 “abstract.” Id. Indeed, “Article III standing requires a concrete injury even in the context of a

 statutory violation.” Id.

     III.      ARGUMENT

            A. This Case Should be Remanded.

            Under 28 U.S.C. § 1441, any case that falls within the Court’s “original jurisdiction” is

 removable. Pursuant to 28 U.S.C. § 1331, the “district courts shall have original jurisdiction of all

 civil actions arising under the Constitution, laws, or treaties of the United States.” However, if a

 plaintiff is found to lack standing at any point in the case, the action must be remanded. See

 Gonzalez v. TCR Sports Broad. Holding, LLP, 2018 WL 4292018, at *2 (S.D. Fla. Sept. 10, 2018)

 (“The Court notes that it may turn out that Plaintiff does not have standing to bring its TCPA

 claims in this Court. At that time, remand may be an appropriate remedy.”); Lee v. Am. Nat. Ins.

 Co., 260 F.3d 997, 1008 (9th Cir. 2001)(“The standing defect renders Lee’s claim against ANTEX

 non-justiciable in federal court . . . .”).

            Accordingly, while Defendant was permitted to remove this case pursuant to this Court’s

 original jurisdiction, the case must now be remanded for lack of jurisdiction. This is the same

 conclusion reached by Judge Altman in Mittenthal:

            This conclusion follows logically from the plain meaning of the words in the
            removal statute. See SCALIA & GARNER at 69 (“The ordinary-meaning rule is
            the most fundamental semantic rule of interpretation.”). The statute, after all, is
            pellucid that, if “at any time before final judgment it appears that the district court
            lacks subject matter jurisdiction, the case shall be remanded.” 28 U.S.C. § 1447(c)
            (emphasis added). And, while standing may not be a component of this Court’s
            original jurisdiction—and thus need not be pled in the removal notice—it most
            certainly is an element of the Court’s subject-matter jurisdiction. As Judge
            Kozinski explained in Lee:

            Where the district court has “original jurisdiction” . . . the case is removable and
            our inquiry ends. Only at the next step, when we ask whether the case should be
            remanded, need we address questions of standing and other aspects of “subject
            matter jurisdiction.” Compare 28 U.S.C. § 1441(a) (“[A]ny civil action brought in

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        a State court of which the district courts of the United States have original
        jurisdiction, may be removed ....” (emphasis added)), with id. § 1447(c) (“If at any
        time before final judgment it appears that the district court lacks subject matter
        jurisdiction, the case shall be remanded.” (emphasis added)).

 Mittenthal, 2020 U.S. Dist. LEXIS 123127 at *15. Similarly, in Jenkins, Judge Altonaga found

 that remand was the appropriate course and stated,

        With no concrete injury, and thus no standing, [defendant] has not met its burden
        to show that the Court has subject matter jurisdiction over this action. Remand is
        the proper course. See 28 U.S.C. § 1447(c) (“If at any time before final judgment
        it appears that the district court lacks subject matter jurisdiction, the case shall be
        remanded.”).

 Jenkins, No. 20-22677-CIV, 2020 U.S. Dist. LEXIS 147433, at *6-7.

        As Plaintiff hereby disputes that her allegations are sufficient to satisfy Article III standing,

 Defendant bears the burden of establishing that Plaintiff has Article III standing to remain in

 federal court. See Lujan, 504 U.S. at 561 (“The party invoking federal jurisdiction bears the burden

 of establishing these elements [of standing.]”); Jenkins, No. 20-22677-CIV, 2020 U.S. Dist.

 LEXIS 147433, at *4-5 (““As the removing party, [defendant] has the burden of establishing

 federal jurisdiction — including [plaintiff’s] standing.”). Defendant makes no showing in its

 Notice of Removal and remand is therefore proper. See Burns, 31 F.3d at 1095 (“where plaintiff

 and defendant clash about jurisdiction, uncertainties are resolved in favor of remand.”); Bochese

 v. Town of Ponce Inlet, 405 F.3d 964, 974 (11th Cir. 2005)(“In the absence of standing, a court is

 not free to opine in an advisory capacity about the merits of a plaintiff’s claims.”); Watkins v. IC

 Sys., No. C-98-1625-VRW, 1998 U.S. Dist. LEXIS 10486, at *1 (N.D. Cal. July 10, 1998) (“On

 October 30, 1997, the court remanded the action to state court because Sicher lacked Article III

 standing.”).

        B. Plaintiff Alleges Only a Statutory Violation and Legal Injury.




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        In Salcedo, the plaintiff filed suit under the TCPA alleging that he had received a

 “multimedia text message from Hanna [a Florida attorney] offering a ten percent discount on his

 services.” Salcedo, 936 F.3d at 1165. After reviewing the TCPA’s legislative history, common-

 law torts, Eleventh Circuit precedent, and the constitutional principles underlying the doctrine of

 standing, the Eleventh Circuit concluded that a TCPA plaintiff’s receipt of an unsolicited text

 message—without any concomitant allegation of harm—is insufficient to confer Article III

 standing. See id. at 1166–73. In so holding, the court was careful to base its decision on Salcedo’s

 failure to allege that his review of the text message took a specific amount of time. Instead, the

 complaint “allege[d] time wasted only generally.” Id. at 1168.

        Here, Plaintiff only alleges that they have suffered a legal injury as a result of Defendant’s

 violation of the TCPA. But “invasion of a legally protected interest” is not enough to establish

 injury in fact; the injury must also be “concrete and particularized.” Spokeo, 136 S. Ct. at 1548;

 see also Salcedo, 936 F.3d at 1167 (“[A]n act of Congress that creates a statutory right and a private

 right of action to sue does not automatically create standing”).

        In sum, the operative pleading references no tangible or intangible harm that the Plaintiff

 may have suffered as a result of Defendant’s unsolicited text messages. Identical allegations were

 analyzed by Judge Altman in Mittenthal and found to be insufficient under Article III:

        Nowhere, for example, does the Complaint allege that the Plaintiffs’ phone carriers
        charged them for the text messages, or that they had to pay extra to store those
        messages. And, it goes without saying, the Complaint’s allegations that the
        Plaintiffs “have standing,” that they “suffered a legal injury,” and that they “were
        harmed by the acts of Defendants” are a far cry from the “concrete and
        particularized” averments the Supreme Court required in Spokeo. Those allegations
        are, in either case, conclusory—and are thus not entitled to the presumption of truth.
        See Ashcroft v. Iqbal, 556 U.S. 662, 681 (2009) (“As such, the allegations are
        conclusory and not entitled to be assumed true.”).

        The Plaintiffs likewise allege no intangible harm. Here, the focus of the inquiry is
        on wasted time. See Resp. at 5. In Salcedo, the Eleventh Circuit observed that the

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           complaint’s silence on this question of “wasted time” doomed the plaintiff’s
           standing arguments. See Salcedo, 936 F.3d at 1168 (“In the absence of a specific
           time allegation, we decline to assume an equivalence to the facts of Palm Beach
           Golf when receiving a fax message is qualitatively different from receiving a text
           message.”). The Plaintiffs have alleged neither wasted time nor any other intangible
           harm in their Complaint. The Complaint never says, for example, that reviewing
           the text messages took an inordinate amount of time. Nor do the Complaint’s
           averments, taken together, suggest that each message took the Plaintiffs at least five
           seconds to read. Cf. id. at 1173 (noting that, in 47 U.S.C. § 227(d)(3)(B), the TCPA
           “instructs the FCC to establish telemarketing standards that include releasing the
           called party’s line within five seconds of a hang-up”). In fact, the Complaint does
           not even allege that the Plaintiffs ever read the messages at all.

 Mittenthal, 2020 U.S. Dist. LEXIS 123127 at *22. Judge Altonoga, examining similar allegations,

 stated,

           In this action, [plaintiff’s] Complaint is a model of brevity, devoid
           of any allegations showing concrete harm. […] That is it. There are no other
           allegations of tangible or intangible harm. There is far less here than alleged by
           the Salcedo plaintiff. There is thus no reason to stray from Salcedo's holding —
           [plaintiff’s] Complaint does not establish a concrete injury under this Circuit's
           precedent. See Salcedo, 936 F.3d at 1173.

 Jenkins, 2020 U.S. Dist. LEXIS 147433, at *5-6.

           Since Plaintiff here has alleged neither tangible or intangible injuries and Defendant has

 failed to establish that Plaintiff has Article III standing, this matter should be remanded.

           C. Plaintiff has Standing in State Court and Remand is Therefore Appropriate.

           “[T]he constraints of Article III do not apply to state courts, and accordingly the state courts

 are not bound by the limitations of a case or controversy or other federal rules of justiciability even

 when they address issues of federal law, as when they are called upon to interpret the Constitution

 or, in this case, a federal statute.” ASARCO Inc. v. Kadish, 490 U.S. 605, 617 (1989). Accordingly,

 nothing in “Salcedo—prevents the state court from exercising jurisdiction over this case. State

 legislatures, after all, are always free to adopt lower standing requirements than those imposed by

 Article III on federal courts.” Mittenthal, 2020 U.S. Dist. LEXIS 123127 at n.4.



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        While Plaintiff’s allegations of a statutory violation and resulting legal injury stemming

 from Defendant’s violations of the TCPA are insufficient to confer jurisdiction on this Court, the

 state court where this matter was originally filed does have jurisdiction. See Sosa v. Safeway

 Premium Fin. Co., 73 So. 3d 91, 117 (Fla. 2011). (“A case or controversy exists if a party alleges

 an actual or legal injury.”) (citing Olen Properties Corp. v. Moss, 981 So. 2d 515 (Fla. 4th DCA

 2008) (citing Linda R.S. v. Richard D., 410 U.S. 614, 617, 93 S. Ct. 1146, 35 L. Ed. 2d 536 (1973))

 (emphasis supplied); Laughlin v. Household Bank, Ltd., 969 So. 2d 509 (Fla. 1st DCA 2007)

 (“[plaintiff] is not required to prove actual damages, but only a violation of one of the prohibited

 practices in the FCCPA.”); Collins v. Gov't Emples. Ins. Co., 922 So. 2d 353 (Fla. 3d DCA 2006)

 (“Therefore, the question to be answered first is whether Collins stated a cause of action against

 the defendant insurer.”).

        The strictures of Article III standing do not apply in state court and, therefore, Plaintiff

 should be permitted to pursue his claims in state court. See Dep't of Rev. v. Kuhnlein, 646 So. 2d

 717, 720 (Fla. 1994) (“Accordingly, the doctrine of standing certainly exists in Florida, but not in

 the rigid sense employed in the federal system.”); Pirate's Treasure, Inc. v. City of Dunedin, 277

 So. 3d 1124, 1128 (Fla. 2d DCA 2019) (“conception of standing is less demanding than the

 conception of standing that prevails in the federal courts”); Brady v. P3 Grp. (LLC), 98 So. 3d

 1206, 1209 (Fla. 3d DCA 2012) (“the doctrine of standing is not employed with the rigidity found

 in federal practice”); Nat'l Ass'n of Prof'l Allstate Agents v. Allstate Ins. Co., No. 8:01-cv-2137-T-

 24MSS, 2002 U.S. Dist. LEXIS 28409, at *7 (M.D. Fla. Apr. 22, 2002) (“Instead, Florida courts

 have applied the concept of standing more loosely than typically found in the federal system.”);

 Reinish v. Clark, 765 So. 2d 197 (Fla. 1st DCA 2000) (“Florida does not adhere to the ‘rigid’

 doctrine of standing used in the federal system.”).



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        The case should be remanded to state court where Plaintiff can pursue his claims on behalf

 of himself and all others similarly situated.

        WHEREFORE, Plaintiff respectfully requests an order remanding his case to state court,

 and for such other relief deemed appropriate under the circumstances.

                       CERTIFICATE OF GOOD FAITH CONFERRAL

        The undersigned attorney, in compliance with S.D. Local Rule 7.1(a)(3), certifies that

 counsel for Plaintiff has conferred with counsel for Defendant regarding the relief sought herein,

 and that counsel for Defendant opposes the instant motion.



 Dated: September 18, 2020

                                                 Respectfully submitted,


                                                 /s/ Ignacio J. Hiraldo


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